EXHIBIT E

 

Jennifer Christos vs.

Halker Consultz`ng, LLC, et al.

 

Vz'deo Deposz`tion omevl`s Hutchz`nson

November 08, 2016

 

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Jennifer Christos vs.

Video Deposition of Travis Hutchinson

 

 

 

Halker Consulting, LLC, et al. November 08, 2016
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1 IN THE UNITED STATES DISTRICT COURT 1 (MS Christos not present')
FOR TI-IE DISTRICT OF COLORADO
2 2 P R O C E E D l N G S
3 civ11 Aot;ioo No. 16-cv-01933-PAB-NYW 3 TRAVlS HUTCH|NSON,
4 JENNIFER CHRISTOS' 4 having been irst duly sworn, was examined and testified
5 Piaiotiff,
6 VS_ 5 as follows:
7 HALKER coNsuLT:NG, LLc, a colorado Limii;ooi Liaioiiity 6 EXAM|NAT|ON
Company, MATTHEW HALKER, individually, and _
8 TRAVIS HUTCHINSON, individually, 7 BY MS' ELL|S
9 Dofenoianto. 8 Q. A|| right. Mr. Hutchinson, l'm Rache|
"' 9 E|lis. l am Jennifer Christos' attorney. And we're here
10 VIDEO DEPOSITION OF TRAVIS HUTCHINSON ~ _
November 31 2016 10 today to take your deposition.
11 - 11

12 APPEARANCES:
13 ON BEHALF OF THE PLAINTIFF:

RACHEL E. ELLIS, ESQ.
14 Ellis Employment Law, LLC
1725 I-quh Street, Suite 3
15 Denver, Colorado 80218
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16 Email: rachel@ellisemploymentlaw.com
17 ON BEHALF OF THE DEFENDANTS:
BRETT M. WENDT, ESQ.
18 Kutak Rock LLP
1801 California Street, Suite 3000
19 Denver, Colorado 80202
Phone: 303-292~7868

Before we talk about the facts in the case,

12 let's talk about your familiarity with the deposition

13 process. Have you had your deposition taken before?
14 A. No, ma'am.

15 Q. You understand that our court reporter,

16 Linda, has just placed you under oath, and you have an
17 obligation to testify truthfully?

18 A. Yes, ma'am.

19 Q. Do you understand that even though we're in
20 a conference room as opposed to a courtroom, your
21 testimony has the same force and effect as if you were

 

 

 

:(l) Email: brett.wendt@kutakrock.com 22 testifying before a judge or a jury?
22 Also Present: Jennifer Christos 23 A. YBS, ma'am.
23 24 Q. Do you understand that you will be
24 . . . . .
25 25 committing perjury if you know the answer to a question
Page2 Page4
1 PURSUANT TO WRITTEN NOTICE, and the appropriate 1 but you testify that you don't know the answer?
2 rules of civil procedure, the video deposition of TRAVIS 2 A Y ,
3 HUTCHINSON, called for examination by the Plaintiff, was ' es’ ma am'
4 taken at 1721 Hiqh Street, Denver, Colorado, commencing 3 Q. And that yOU Wi" be COmmittihg Perjul'y if
5 at 9:16 a““' °“ N°Ve’“be_r B' 2016' ,bef°re Li“da Lj 4 you know the answer to a question but you say you don't
6 E`rizzell, a Notary Public and Registered Professional
7 Reporter in and for the State of Colorado. 5 remember the answer?
8 (Deposition was videotaped by Ms. Ellis.) 6 A_ Yes' ma'am_
9 I N D E X .
10 7 Q. l want your best testimony today to make
EXAMINATION: PAGE 8 the best use of all our time. And so if you don't
11 B M Ell_ 3 9 understand a question or you think l'm asking you
y S~ ls . . .
12 By Mr, Wendt 151 10 something that is ambiguous, l want you to tell me, and l
13 11 will rephrase the question. Does that make sense?
: AGE
1: EX:IIBITSLinkedIn Profile P 7 12 A Yes’ ma'am`
16 2 Haikor coosoitiog, lno., 16 13 Q. A deposition is not an endurance test. So
17 §T(‘;Il’:‘/’;@e Ha:d:°:de:;Ch : 14 if you need to take a break for any reason, just let us
ates a e e ris os
0048_0078 15 know and we can go off the record. But | do ask that you
18 16 not take a break while a question is pending.
M d P ' 46 . .
19 3 M:::;::Sl;;`a::$ ::;:::d 17 Have you consumed any medication, alcohol,
christoo 0082-0034 18 or other substance which would interfere with your
20 19 ability to respond to the questions or understand them
4 Mr. Lowry‘s Notebook/Bates 67 7
21 Labolod christos 0112-0295 20 today-
22 5 MatriceS/Bates Labeled 101 21 A, NO, ma'am_
23 DEFS~OO37`0044 22 Q. ls there any other reason you would be
6 Apr11 23, 2015, small Projoot 141 23 Ul’lab|e ’CO testify today?
24 Group Redu;;ion/Bates Labeled 24 A' NO, ma'am_
DEFS 0045- 52 _ _
" 25 Q. What did ou do to re are for this
25

 

 

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1 pay and for that reason, you decided to cease the

2 advisory board meetings?

3 A. That was one of the drivers. Didn't feel

4 it was fair to ask them to put in their time and energy

5 reviewing material and prepping.

6 Q. What types of things would the advisory

7 board review in prep for prior to the meetings, what
8 topics?

9 A. We'd give general status update of company;
10 financial performance; work outlook; kind of the big

11 things we were trying to do within the company.

12 Q. Was the advisory board included in

13 conversations about reduction in force?

14 A. Yes.

15 Q. Were there minutes from these advisory

16 board meetings?

17 A. Not to my knowledge

18 Q. Were these meetings in person since

19 somebody was flying in?

20 A. Yes, ma'am.

21 Q. Was there anybody taking notes during these

22 meetings?

1

2 Q. So you think that Ha|ker started talking

3 about reduction in force iri 2014?

4 A. l would say started doing some R|Fs in

5 2014.

6 Q. What month?

7 A. Second half of the year.

8 Q. And were there layoffs that took place at
9 Ha|ker that were larger than others?

10 l\/lR. WENDT: Object to form and foundation.
11 You could answer.

12 A. l'm sure the headcount did not exactly

13 match each time.

14 Q. (By Ms. Ellis) Was there discussion at

15 any point about some kind of plan, like, We're going to

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Page 99
A. Uh-huh. Yes, ma'am.

get rid of 10 percent of our force or 10 percent this
time or 10 percent -- l mean, were there any numbers
like that?

A. l'd say combination of financia|, VP of
finance providing some targets of where We needed to be
to be a healthy company. And managers looking at
resource load and employee counts to be able to execute
the work.

Q. Were there any layoffs at Ha|ker that took
place in the first quarter of 2015?

 

23 A. No, ma'am. Not a formal board.
24 Q. Did you personally take notes during these
25 meetings?

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1 A. | did take notes during a few of them.
2 Q. And why is that?

3 A. Frankly, Craig Hughes had a lot to provide

4 as far as perspective on how to run a company, gone

5 through a downturn, how to manage through that. | think
6 always trying to educate yourself and learn from other

7 lessons and draw on that experience Nobody wants to go
8 through a downturn, but hopefully you can learn from

9 others.

10 Q. And were advisory board members giving
11 Ha|ker advice on how to manage this downturn?

12 A. No. l'd say it was a sounding board.

13 Q. What do you mean "a sounding board"?

14 A. We present initiatives or What we were kind

15 of planning to do or the company was at, and they would

16
17

ask questions to help shape different perspectives and
talk about their experiences.

18 Q. Did someone from Ha|ker present the idea of
19 a reduction in force to the advisory board at some point?
20 A. l'm sure.

21 Q. ls that something that came from you?

22 A. lt was generally David and l putting

23 together slide decks, so a combination.

24
25

Q. You mean slide decks in, like, a PowerPoint
presentation?

 

 

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Page 100
A. Yes, ma'am.

Q. What month?

A. | believe in 2015. There was layoffs in
January. And then again in the second quarter.

Q. About how many people were laid off in
January?

A. Not -- my gut answer Would be about a
dozen.

Q. And what part of the company were those
layoffs in?

A. l think it was throughout all the
disciplines. l do know process engineering was able to
retain headcounts the longest. l'd say that it was kind
of all the disciplines slowly. As project cycles would
end, and there's not new work, reductions in forces had
to happen to sustain the company.

Q. Was there new work coming into Ha|ker at
the beginning of 2015?

A. There was work coming in but it Was slower
than it was getting worked through. So there's always a
decline in revenue starting in 2014, beginning of 2014.

Q. What do you mean it was slower getting
worked through?

A. So if-- based on headcount if you're
working 1,000 hours a week, we're only bringing in 500

 

 

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1 hours a week. So you have a certain amount of backlog of

2 work that you're just chewing through continually in a
3 shrinking company.

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1 Q. Prior to this matrix which, l think, was

2 capturing information from March 2015 -- so let me go
3 back -- let me go back a year.

 

 

4 Q. Was there a formal process for determining 4 ln 2014, did employees have annual reviews?
5 who would be included in layoffs? 5 A. As -- as a discipline as a company, that

6 l\/|R. WENDT: Object to form and foundation 6 was something that we tried to keep up With, yes.

7 A. l'd say there was a -- during layoffs in 7 Q. Did all annual reviews take place in a

8 2015, had to put in place --the managers were using some 8 specific time frame for the company?

9 employee-ranking matrices within their departments to 9 A. As a growing company that was something

10 help identify. 10 that l don't think folks -- we ever really decided on

11 Q. (By Ms. El|is) What are these matrice -- 11 whether it was annual or employee date or something

12 A. l\/latrices. lt was -- it was something that 12 getting worked through. l think we encouraged managers
13 Eric Parvin had brought to the table from his days at 13 to give continual feedback and meet with their employee
14 URS. 14 on a regular basis, kind of an annual review by itself is

15 l\/lS. ELL|S: Let's mark this as Exhibit 5. 15 not that effective

16 (Exhibit 5 marked for identification.) 16 Q. |n 2014, were you giving your -- were you

17 Q. ls this an example of the matrix you were 17 giving people who directly reported to you an annual
18 just talking about? 18 review?

19 A. Yes, ma'am. 19 A. l Would say, yes.
20 Q. All right. On page 1 of what's been marked 20 Q. All right. As far as how to use this chart
21 as Exhibit 5, there appear to be ten categories that 21 in order to give different employees weights, where are
22 employees were graded on. Would you say that's accurate? 22 the instructions for what each category includes?
23 A. Nine. 23 l\/lR. WENDT: Object to form and foundation
24 Q. Okay. What do you think employees were not 24 A. A -- | Cannot Speak to if there'S
25 graded on? 25 instructions or not.

Pago 102 Pago 104

1 A. l don't think we were using the success 1 Q. (By Ms. El|is) Were your managers that

2 factors at this time. 2 directly reported to you using charts to rank

3 Q. Okay. ls this directly a thing that 3 employees?

4 Mr. Parvin brought or was this modified for use at 4 A. Such as this, yes.

5 Ha|ker, as far as the categories go? 5 Q. Did you talk to your managers about how to

6 A. Like, l can't say exquisitely. l know he 6 use the charts?

7 brought the matrix, really looked to the individual 7 A. We discussed the importance of continually

8 department managers to make it work for their groups. 8 understanding where the employees were. And to be

9 Q. What does success factors mean? 9 keeping up with the disclpline.

10 A. That was our HR platform for a while, just 10 Q. What do you mean "keeping up with the

11 the name of an SAP software 11 discipline"?

12 Q. What is "SAP software"? 12 A. Doing it on a monthly basis. Again, an

13 A. l -- SAP does a Whole bunch of different 13 unfortunate period of time when the company was going
14 Work~related platforms. 14 through downsizing and RlFs.

15 Q. So -- 15 Q. lf you turn to DEFS_40, which is a Bates

16 A. Kind of like an automated tool. 16 stamp at the bottom. This document looks pretty similar
17 Q. So what did success factors include? 17 to me, although it says "April" instead of "March" at the
18 MR. WENDT: Object to form and foundation 18 first page.

19 l think he testified it wasn't used. 19 A. Uh-huh.

20 Q. (By Ms. El|is) Let me rephrase. You said 20 Q. Do you think that March was the first time

21 success factors was an HR platform. What kind of 21 that employees were ranked using this chart‘?

22 information was captured within success factors as far 22 A. l'm unsure.

23 as employee performance? 23 Q. Did you instruct your managers to use these
24 A. At the time of this, l really don't think 24 charts on a monthly basis?

25 it was being used. 25 A. ln the managers' meetings, yes, lt was

 

 

 

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1 talked that Eric had a tool, that he would share the tool

2 and to use the tool.

3 Q. And did you want these reports given to you
4 or these charts given to you on a monthly basis so that
5 you could take a look at these numbers?

6 A. No, ma'am.

7 Q. What happened to these charts once they

8 were filled out?

9 A. l\/ly understanding is they're shared, one, if

10 there are subsupervisors in the group, the supervisors

11 worked with the department managers to generate them.
12 And, l believe, at times they're shared with HR.

13 Q. But not shared with you?

14 A. When ~- When RlFs occurred, it would -- you

15 know, request that managers working with l~lR have proper
16 documentation as far as who Was selected l'd be

17 apprised of Who the managers had selected for their RlF
18 at the same time as HR.

19 Q. Does it make sense to you that March and
20 Apri| would be identical?

21 l\/lR. WENDT: Object to form and foundation

22 A. Frankly, it's hard to know looking at thls.

23 As a spreadsheet user, generally, when you are doing the
24 next month, you copy the previous month's tab HrSt and
25 then you start populating. So at the point in time when

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1 A. l mean, again, l\/latt is involved as the

2 owner of the company. David was the most intimate with
3 the tinancia|s and the adjustments needed to make to --
4 to get the company back to a solvent state So l'd say

5 hard matrix would come from David.

6 Q. All right. What was your role?

7 A. l took the targets and provided those to

8 the department managers and talked through that the

9 company's hemorrhaging money, and we are in the

10 unfortunate position of having to do layoffs; otherwise
11 everyone is going to be out of a job. This isn't a

12 position that anyone wants to be in. But these are the
13 targets we need to hit. Please get back, get with your
14 subsupervisors, if you have any, look at your groups and
15 provide recommendations back as far as how you can hit
16 these targets.

17 Q. All right. Did you have any input into who
18 would be included in layoffs?

19 A. As -- as their manager, we really looked to

20 them to provide the path for their group. They're the

21 most intimate with their teams and their teams'

22 performance l know there was continual dialogue as far
23 as how to hit the numbers. lt's a very-not-fun period of
24 time. So continued support to the managers was -- was
25 provided.

 

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1 this is printed or -- so l don't know. lt's hard to

2 know.

3 Q. (By Ms. El|is) Who would know?

4 A. l would say the subsupervisors and the

5 department manager for ~- for this group.

6 Q. And the department manager was?

7 A. Tyler Farley.

8 Q. Who were the subsupervisors?

9 A. Brianne, Greg, and Craig.

10 Q. ln discovery, there's a statement that

11 Mr. Ha|ker and Mr. Hart provided company targets for the
12 number of employees to be included in the layoffs for the
13 May 2015 |ayoff. What was your role in deciding who

14 would be included in the layoff?

15 l\/lR. WENDT: Can We stop for a second? Did

16 you say Mr. l-lalker and l\/lr. Hart’? l believe the answer is

17 l\/lr. Hutchinson and l\/|r. Hart. So l want to make sure you

18 are quoting that right, because if you're quoting it from

19 a response, l want to know.

20 Q. (By Ms. Ellis) Well, Mr. Hutchinson, who

21 provided company targets for the number of employees to
22 get included in layoffs?

23 A. From a financial matrix standpoint, that

24 would come from David.

25 Q. Anyone else?

 

 

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1 Q. What do you mean continual dialogue about
2 how to hit the numbers?
3 A. No manager wants to be handed a target that

4 says you have got to get rid of X amount of folks.

5 lt's -- you know -- again, we're a company that -- that's

6 trying to retain a good culture and environment and it's

7 very difficult to do in a layoff. And so l'm going to

8 provide support to my managers who have to look at their
9 teams and make tough decisions.

10 Q. Did you give anybody any guidance about any
11 individuals that you wanted to see --

12 A. No, ma'am.

13 Q. -- on one side of the layoff or the other?

14 A. No, ma'am. Our company had a lot of

15 autonomy, and l would not intentionally interfere with

16 what my managers' decisions are in regards to their

17 resources.

18 Q. Regarding Ms. Farley specifically, did you
19 give her any guidance about who you wanted to see
20 included or not included?

21 A. No, ma'am.

22 Q. Did Ms. Farley consult with you about who
23 should be included or not included?

24 A. No, ma'am. She consulted with Craig, Greg,
25 and Brianne.

 

 

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Pago 109 Pago 111
1 Q. ln the context of a layoff? 1 A. l -- l was not a user of the spreadsheet.
2 A. Yes. Because they had those three 2 l can't -- l can't speak to that.
3 reporting in to Tyler. Tyler had the target to hit as a 3 Q. (By Ms. El|is) Did you read the comments
4 department; those three had the direct reports, and so 4 that are included in this exhibit?
5 they were involved in cross-ranking the rest of the 5 A. l have not exhaustively read the comments.
6 group. 6 Q. Have you read them prior to today?
7 Q. So did Ms. Farley rank Mr. Melton and 7 A. No, ma'am.
8 Mr. Campbell and Ms. Stebbins? 8 Q. When did you first meet Craig Melton?
9 A. That is my understanding. 9 A. Probab|y a few weeks before his hire date
10 Q. And were Mr. Melton, Mr. Campbe|l, and 10 when he was interviewing.
11 Ms. Stebbins told that they were selecting candidates for 11 Q. When did you first meet Greg Campbe||?
12 inclusion in a layoff? 12 A. Similar.
13 A. l do not know the answerto that. 13 Q. When did you first meet Brianne Stebbins?
14 Q. ls it yourtestimony today that it is 14 A. When at school at Colorado School of l\/lines.
15 Ms. Farley who made the decision to include 15 Q. Did you refer her to Ha|ker?
16 Ms. Christos -- Christos in the layoff? 16 A_ l did_
17 A. Yes. 17 Q. When did you first meet Rick Gonzales?
18 Q. Did she have the authority to do that 18 A. During the interview process before he was
19 without your approval? 19 hired.
20 A. The hierarchy to the company -- so l mean, 20 Q. When did you first meet Alex da Si|va?
21 she was given that autonomy as all the managers were to 21 A. The same
22 make the decisions fortheir groups 22 Q. interview process?
23 Q. Did she have the authority in her role to 23 A. Uh-huh.
24 make hiring decisions without your approval? 24 l\/lR. WENDT: YeS?
25 A. l don't think she ever got the opportunity 25 A. Yes.
Pago 110 Pago 112
1 to hire anybody. 1 Q. (By Ms. Ellis) When did you first meet --
2 Q. Did Ms. Farley have the authority to fire 2 thank you.
3 anyone in her group without your approval? 3 When did you first meet C.J. Horn?
4 A. Again, hierarchy of the company, talking 4 A. Elementary school.
5 with all the managers l'm sure things would have been 5 Q. Did you refer him to Ha|ker?
6 talked over if someone was going to get fired. 6 A. l did.
7 Q. So she didn't have the authority to fire 7 Q. When did you first meet Michae| Molter?
8 someone without your approval? 8 A. interview process
9 A. lt's -- you know, working through at HR, l 9 Q. When did you first meet Tyler Farley?
10 don't know if anybody had a singular authority to fire an 10 A. Colorado School of l\/lines.
11 individual at the company without working through the 11 Q. Did you refer her to Ha|ker?
12 proper channels But l don't -- l don't know how to 12 A. l did.
13 place the --the singular authority. You know, anyone 13 Q. When did you first meet Da|e Sostrom?
14 can -- could recommend to -- to fire or higher anybody, 14 A. The interview process
15 we had a -- you know, an employee referral bonus for a 15 Q. And when was he hired at Ha|ker?
16 period of time when we were hiring, which there would be 16 A. l know it was -- l believe it was beginning
17 people recommending to hire folks; that was afforded to 17 of-- maybe January of '15.
18 everybody. 18 Q. January 2015?
19 Q. When was the employee referral bonus 19 A. Yes, ma'am.
20 program put in place? 20 Q. Was he out of the people that are named or
21 A. Probably 2013. When the industry was good. 21 identified on this -- on the first page of Exhibit 5, was
22 Q. |f you turn to the last page of what's been 22 Mr. Sostrom the latest person to be hired?
23 marked as Exhibit 5. Are these -~ is this the underlying 23 A. Not 100 percent sure lt was either him or
24 data behind the rankings? 24 Richard.
25 l\/lR. WENDT: Object to form and foundation 25 Q. When do you think that Mr. Sostrom was

 

 

 

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